
In re Straus, Jeffrey, Dr.; Louisiana Eye Center/N.O.P.C.; — Defendant(s); applying for supervisory and/or remedial writs; Parish of Orleans, Civil District Court, Div. “A”, No. 92-14672; to the Court of Appeal, Fourth Circuit, No. 97CW-2192.
Writ granted. Construing the district court’s ruling as permitting the testimony of Dr. Tran at any time for any purpose, the ruling is vacated. The admissibility of testimony can be ruled upon when presented at trial. The admissibility will be governed by the appropriate rules of the Code of Evidence in light of other evidence that is then before the court.
KIMBALL, TRAYLOR and KNOLL, JJ., would deny the writ.
VICTORY, J., concurs in the result.
JOHNSON, J. not on panel; recused.
